            Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                     :
 JACOB SCHEINER IRA,                                 :
                                                     :   Case No._______________
                                                     :
                      Plaintiff,                     :
                                                     :   COMPLAINT FOR VIOLATIONS OF
             v.                                      :
                                                     :   THE FEDERAL SECURITIES LAWS
 OTELCO INC., RICHARD A. CLARK,                      :
                                                     :   JURY TRIAL DEMANDED
 BARBARA M. DONDIEGO-STEWART,
 HOWARD J. HAUG, DAYTON R. JUDD,                     :
                                                     :
 STEPHEN P. MCCALL, and BRIAN A.                     :
 ROSS,                                               :
                                                     :
                      Defendants.                    :
                                                     :


       Plaintiff Jacob Scheiner IRA (“Plaintiff”), by and through its undersigned counsel, for its

complaint against defendants, alleges upon personal knowledge with respect to itself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                         NATURE AND SUMMARY OF THE ACTION

       1.         This is an action brought by Plaintiff against Otelco Inc. (“Otelco” or the

“Company”) and the members of its Board of Directors (the “Board” or the “Individual

Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange

Commission (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a proposed

transaction, pursuant to which Otelco will be acquired by Oak Hill Capital Partners V (Onshore),

L.P. (“Oak Hill Fund V”), a fund managed by Oak Hill Capital Management, LLC (“Oak Hill”),

through Oak Hill Fund V’s affiliates Future Fiber FinCo, Inc. (“Parent”) and Olympus Merger

Sub, Inc. (“Merger Sub”) (the “Proposed Transaction”).
            Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 2 of 15




       2.       On July 27, 2020, Otelco issued a press release announcing that it had entered into

an Agreement and Plan of Merger dated July 26, 2020 (the “Merger Agreement”) to sell Otelco

to Oak Hill. Under the terms of the Merger Agreement, each Otelco stockholder will receive

$11.75 in cash for each share of Otelco common stock they own (the “Merger Consideration”).

The Proposed Transaction has an enterprise value of $105.6 million.

       3.       On August 9, 2020, Otelco filed a Schedule 14A Definitive Proxy Statement (the

“Proxy Statement”) with the SEC.         The Proxy Statement, which recommends that Otelco

stockholders vote in favor of the Proposed Transaction, omits or misrepresents material

information concerning, among other things: (i) Otelco management’s financial projections relied

upon by Houlihan Lokey Capital, Inc. (“Houlihan”) for its financial analyses and the data and

inputs underlying the valuation analyses performed by Houlihan; (ii) the background of the

Proposed Transaction; and (iii) potential conflicts of interest of the Company’s financial advisors,

Houlihan and Lazard Middle Market LLC (“Lazard”). Defendants authorized the issuance of the

false and misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the Exchange

Act.

       4.       In short, unless remedied, Otelco’s public stockholders will be irreparably harmed

because the Proxy Statement’s material misrepresentations and omissions prevent them from

making a sufficiently informed voting or appraisal decision on the Proposed Transaction. Plaintiff

seeks to enjoin the stockholder vote on the Proposed Transaction unless and until such Exchange

Act violations are cured.

                                 JURISDICTION AND VENUE

       5.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to




                                                 -2-
               Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 3 of 15




Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

          6.       This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

          7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District. Otelco’s common stock trades on

the Nasdaq Capital Market which is headquartered in this District, rendering venue in this District

appropriate.

                                            THE PARTIES

          8.       Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

Otelco.

          9.       Defendant Otelco is a Delaware corporation with its principal executive offices

located at 505 Third Avenue East, Oneonta, Alabama 35121. The Company provides wireline

telecommunications services in Alabama, Maine, Massachusetts, Missouri, New Hampshire,

Vermont and West Virginia. Otelco’s common stock trades on the Nasdaq Capital Market under

the ticker symbol “OTEL.”

          10.      Defendant Richard A. Clark (“Clark”) has served as Chief Executive Officer and a

director of the Company since January 2020. Defendant Clark previously served as the Company’s

Chief Operating Officer and was appointed President effective May 1, 2019.

          11.      Defendant Barbara M. Dondiego-Stewart (“Dondiego-Stewart”) has been a director

of the Company since 2019.




                                                   -3-
          Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 4 of 15




        12.     Defendant Howard J. Haug (“Haug”) has been a director of the Company since

December 2004.

        13.     Defendant Dayton R. Judd (“Judd”) has been a director of the Company since 2019.

        14.     Defendant Stephen P. McCall (“McCall”) has served as Chairman of the Board since

June 2013 and as a director of the Company and its predecessor Rural LEC Acquisition LLC since

January 1999.

        15.     Defendant Brian A. Ross (“Ross”) has been a director of the Company since May

2013.

        16.     Defendants identified in paragraphs 10-15 are referred to herein as the “Board” or

the “Individual Defendants.”

                               OTHER RELEVANT ENTITIES

        17.     Oak Hill is a private equity firm managing funds with approximately $15 billion of

initial capital commitments and co-investments since inception. Over the past 34 years, Oak Hill

and its predecessors have invested in over 90 private equity transactions across broad segments of

the U.S. and global economies. Oak Hill applies an industry-focused, theme-based approach to

investing in the following sectors: Media & Communications; Services; Industrials; and

Consumer, Retail & Distribution.

        18.     Oak Hill Fund V is a fund managed by Oak Hill.

        19.     Parent is a Delaware corporation and an affiliate of Oak Hill Fund V.

        20.     Merger Sub is a Delaware corporation and a wholly owned subsidiary of Parent.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company

        21.     Otelco was founded as a Delaware limited liability company in 1998 for the purpose

of operating and acquiring rural local exchange carriers (“RLECs”). Since 1999, the Company



                                               -4-
          Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 5 of 15




has acquired eleven RLEC businesses, four of which serve contiguous territories in north central

Alabama; three of which serve territories adjacent to either Portland or Bangor, Maine; and one

each serving a portion of western Massachusetts, central Missouri, western Vermont and southern

West Virginia.

       22.       In addition to traditional telephone services, Otelco provides a variety of

unregulated telecommunications services in all of its RLEC territories, including internet data lines

and long distance services.

       23.       The Company has also acquired three facilities-based competitive local exchange

carriers (“CLECs”), which offer services primarily to business and enterprise customers in Maine,

New Hampshire and Massachusetts.

The Proposed Transaction

       24.       On July 27, 2020, Otelco issued a press release announcing the Proposed

Transaction. The press release states, in relevant part:

       ONEONTA, Ala., July 27, 2020 -- Otelco Inc. (Nasdaq: OTEL) (“Otelco” or the
       “Company”), a wireline telecommunication services provider in Alabama, Maine,
       Massachusetts, Missouri, New Hampshire, Vermont and West Virginia, announced
       today that it has entered into a definitive agreement to be acquired by affiliates
       formed by Oak Hill Capital (“Oak Hill”), a private equity firm, for $11.75 per share
       in cash, which represents an equity purchase price of $40.6 million and an
       enterprise value of $105.6 million. As part of the definitive agreement, Oak Hill
       will assume or refinance Otelco’s outstanding debt. The consideration represents
       a 43.3% premium to the unaffected share price of Otelco as of June 23, 2020, a
       53.2% premium to the 20-Day Volume Weighted Average Price as of the same
       date, and a 58.1% premium to Otelco’s average daily closing stock price during the
       second quarter of 2020.

       Otelco’s Board of Directors approved and declared advisable the merger
       agreement, and Otelco’s Board of Directors recommended the approval and
       adoption of the merger agreement by the holders of shares of Otelco common stock.
       A special meeting of Otelco’s shareholders will be held as soon as practicable after
       the filing of a definitive proxy statement with the U.S. Securities and Exchange
       Commission (“SEC”) and subsequent mailing to shareholders. The mailing of the
       proxy statement is expected to take place following the expiration of a 30-day ‘go-




                                                -5-
          Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 6 of 15




       shop’ period, during which Otelco is permitted to encourage and solicit alternative
       proposals from third parties.

       The transaction is not subject to financing contingencies and is expected to close in
       the fourth quarter of 2020. The agreement is subject to Otelco shareholder
       approval, as well as other regulatory and customary closing conditions. Otelco’s
       largest shareholders are a group of related entities, which collectively own 49.6%
       of the Company’s outstanding shares and have agreed to vote in favor of the
       transaction.

       “Like much of the telecommunications industry, Otelco is rapidly deploying
       technology, including fiber to the premise, to increase internet speeds for our
       customers,” commented Richard Clark, President and CEO of Otelco. “We have
       invested in fiber network construction over the last several years in response to the
       demand for higher bandwidth and have demonstrated our ability to deliver the
       necessary technology. Oak Hill has invested capital in other telecommunications
       providers to advance the deployment of the technology needed to support up to one
       gigabit internet speeds. Oak Hill’s commitment to facilitate Otelco’s growth will
       allow the Company to accelerate fiber growth plans that would not have been
       possible within our existing capital structure.”

       “This transaction is a good outcome for Otelco’s shareholders, customers and
       employees. We believe Oak Hill will provide the resources to speed up our network
       upgrade plan and wish them and the Company continued success,” commented
       Stephen McCall, Chairman of Otelco’s Board of Directors.

       “Otelco has assembled a talented leadership team capable of ramping up their
       deployment of advanced technology solutions,” said Jennifer Jun, Principal at Oak
       Hill. “With our experience and capital, we can support Otelco’s mission to serve
       more customers with increasing broadband speeds. We look forward to working
       with Richard and the rest of Otelco’s senior management team in executing on
       Otelco’s next chapter of growth.”

Insiders’ Interests in the Proposed Transaction

       25.     Otelco insiders are the primary beneficiaries of the Proposed Transaction, not the

Company’s public stockholders. The Board and the Company’s executive officers are conflicted

because they will have secured unique benefits for themselves from the Proposed Transaction not

available to Plaintiff and the public stockholders of Otelco.

       26.     Notably, Company insiders stand to reap substantial financial benefits for securing

the deal with Oak Hill. Pursuant to the Merger Agreement, all outstanding stock options and




                                                -6-
          Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 7 of 15




restricted stock unit awards (“RSU Awards”) will vest and convert into the right to receive the

Merger Consideration. The following table summarizes the transaction related compensation

Company insiders stand to receive:




The Proxy Statement Contains Numerous Material Misstatements or Omissions

       27.     The defendants filed a materially incomplete and misleading Proxy Statement with

the SEC and disseminated it to Otelco’s stockholders. The Proxy Statement misrepresents or omits

material information that is necessary for the Company’s stockholders to make an informed

decision whether to vote in favor of the Proposed Transaction or seek appraisal.

       28.     Specifically, as set forth below, the Proxy Statement fails to provide Company

stockholders with material information or provides them with materially misleading information

concerning: (i) Otelco management’s financial projections relied upon by Houlihan for its financial

analyses and the data and inputs underlying the valuation analyses performed by Houlihan; (ii) the

background of the Proposed Transaction; and (iii) potential conflicts of interest of the Company’s

financial advisors, Houlihan and Lazard.

Material Omissions Concerning Otelco Management’s Financial Projections and Houlihan’s
Financial Analyses

       29.     The   Proxy    Statement    omits   material   information   regarding    Company

management’s financial projections.

       30.     For example, the Proxy Statement fails to disclose the Company’s projected

unlevered, after-tax free cash flows over the projection period and the line items underlying the

Company’s unlevered, after-tax free cash flows.



                                               -7-
         Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 8 of 15




       31.     Additionally, the Proxy Statement describes Houlihan’s fairness opinion and the

various valuation analyses performed in support of its opinion. However, the description of

Houlihan’s fairness opinion and analyses fails to include key inputs and assumptions underlying

these analyses. Without this information, as described below, Otelco’s public stockholders are

unable to fully understand these analyses and, thus, are unable to determine what weight, if any,

to place on Houlihan’s fairness opinion in determining whether to vote in favor of the Proposed

Transaction or seek appraisal.

       32.     With respect to Houlihan’s Selected Companies Analysis and Selected Transactions

Analysis, the Proxy Statement fails to disclose the individual multiples and financial metrics for

each of the companies and transactions analyzed by Houlihan, respectively, and the Company’s

Adjusted EBITDA for the 12-month period ended March 31, 2020.

       33.     With respect to Houlihan’s Discounted Cash Flow Analysis, the Proxy Statement

fails to disclose: (i) the Company’s projected unlevered, after-tax free cash flows; (ii)

quantification of the Company’s estimated unlevered, after-tax free cash flows for the year 2029;

(iii) quantification of the Company’s terminal value; and (iv) quantification of the inputs and

assumptions underlying the discount rates of 6.0% to 7.0% and 12.5%.

       34.     The omission of this information renders the statements in the “Certain Unaudited

Prospective Financial Information” and “Opinion of Houlihan Lokey Capital, Inc.” sections of the

Proxy Statement false and/or materially misleading in contravention of the Exchange Act.

Material Omissions Concerning the Background of the Proposed Transaction

       35.     The Proxy Statement fails to disclose material information concerning the

background of the Proposed Transaction.

       36.     For example, the Proxy Statement sets forth that Otelco entered into confidentiality




                                               -8-
          Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 9 of 15




agreements with 24 potential buyers during the period from January 2020 to April 2020 and 11

confidentiality agreements with potential buyers during the go-shop period. Id. at 25, 28. Yet, the

Proxy Statement fails to disclose whether the confidentiality agreements executed by potential

buyers include “don’t-ask, don’t-waive” (“DADW”) standstill provisions that are presently

precluding any of these potential buyers from submitting a topping bid for the Company.

       37.      The failure to disclose the existence of DADW provisions, creates the false

impression that any of the potential buyers who entered into confidentiality agreements could make

a superior proposal for the Company.         If those confidentiality agreements contain DADW

provisions, then those potential buyers can only make a superior proposal by (i) breaching the

confidentiality agreement—since in order to make the superior proposal, they would have to ask

for a waiver, either directly or indirectly; or by (ii) being released from the agreement, which if

action has been done, is omitted from the Proxy Statement.

       38.      Any reasonable Otelco stockholder would deem the fact that the most likely topping

bidders for the Company may be precluded from making a topping bid for the Company to

significantly alter the total mix of information.

       39.      Additionally, the Proxy Statement fails to disclose whether the 24 potential buyers

who executed confidentiality agreements during the period from January 2020 to April 2020,

including parties identified in the Proxy Statement as Party B and Party C, were included and

contacted by Lazard during the go-shop period.

       40.      The omission of this information renders the statements in the “Background of the

Merger” section of the Proxy Statement false and/or materially misleading in contravention of the

Exchange Act.

Material Omissions Concerning Houlihan’s and Lazard’s Potential Conflicts of Interest




                                                    -9-
         Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 10 of 15




       41.     The Proxy fails to disclose material information concerning the potential conflicts

of interest faced by Houlihan and Lazard.

       42.     The Proxy Statement sets forth:

       Houlihan Lokey and certain of its affiliates have in the past provided investment
       banking, financial advisory and/or other financial or consulting services to Oak Hill
       or one or more security holders or affiliates of, and/or portfolio companies of
       investment funds affiliated or associated with, Oak Hill (collectively, with Oak Hill,
       the “Oak Hill Group”), for which Houlihan Lokey and its affiliates have received
       compensation. Houlihan Lokey and certain of its affiliates may provide investment
       banking, financial advisory and/or other financial or consulting services to the
       Company, Parent, other members of the Oak Hill Group, other participants in the
       Merger or certain of their respective affiliates or security holders in the future, for
       which Houlihan Lokey and its affiliates may receive compensation. On June 25,
       2020, Houlihan Lokey, Inc. publicly announced that it has agreed to acquire MVP
       Capital, and, following such announcement, representatives of the Company
       advised Houlihan Lokey that MVP Capital has in the past provided investment
       banking, financial advisory and/or other financial or consulting services to the
       Company, for which MVP Capital has received compensation. In addition,
       Houlihan Lokey and certain of its affiliates and certain of Houlihan Lokey and their
       respective employees may have committed to invest in private equity or other
       investment funds managed or advised by Oak Hill, other participants in the Merger
       or certain of their respective affiliates or security holders, and in portfolio
       companies of such funds, and may have co-invested with members of the Oak Hill
       Group, other participants in the Merger or certain of their respective affiliates or
       security holders, and may do so in the future. Furthermore, in connection with
       bankruptcies, restructurings, distressed situations and similar matters, Houlihan
       Lokey and certain of its affiliates may have in the past acted, may currently be
       acting and may in the future act as financial advisor to debtors, creditors, equity
       holders, trustees, agents and other interested parties (including, without limitation,
       formal and informal committees or groups of creditors) that may have included or
       represented and may include or represent, directly or indirectly, or may be or have
       been adverse to, the Company, Parent, other members of the Oak Hill Group, other
       participants in the Merger or certain of their respective affiliates or security holders,
       for which advice and services Houlihan Lokey and its affiliates have received and
       may receive compensation.

Proxy Statement at 39-40. The Proxy Statement fails, however, to disclose the specific services

Houlihan provided to the Company or Oak Hill, affiliates of, and/or portfolio companies of

investment funds affiliated with or associated with Oak Hill (“Oak Hill Group”) and quantification

of the fees received for such services.




                                                - 10 -
         Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 11 of 15




       43.     Additionally, the Proxy Statement fails to disclose (i) the amount of compensation

Lazard has received or is expected to receive for its engagement by the Company; (ii) the services

Lazard has performed for the Company or the Oak Hill Group; (iii) the timing and specific nature

of such services; and (iv) quantification of the amount of fees received by Lazard for such services.

       44.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

       45.     The omission of this information renders the statements in the “Background of the

Merger” and “Opinion of Houlihan Lokey Capital, Inc.” sections of the Proxy Statement false

and/or materially misleading in contravention of the Exchange Act.

       46.     The Individual Defendants were aware of their duty to disclose the above-

referenced omitted information and acted negligently (if not deliberately) in failing to include this

information in the Proxy Statement. Absent disclosure of the foregoing material information prior

to the stockholder vote on the Proposed Transaction, Plaintiff and the other Otelco stockholders

will be unable to make an informed voting or appraisal decision on the Proposed Transaction and

are thus threatened with irreparable harm warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                              COUNT I

             Claims Against All Defendants for Violations of Section 14(a) of the
                  Exchange Act and Rule 14a-9 Promulgated Thereunder

       47.     Plaintiff repeats all previous allegations as if set forth in full.

       48.     During the relevant period, defendants disseminated the false and misleading Proxy

Statement specified above, which failed to disclose material facts necessary to make the




                                                 - 11 -
         Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 12 of 15




statements, in light of the circumstances under which they were made, not misleading in violation

of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

       49.     By virtue of their positions within the Company, the defendants were aware of this

information and of their duty to disclose this information in the Proxy Statement. The Proxy

Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented

and/or omitted material facts, including material information about Otelco management’s financial

projections relied upon by Houlihan for its financial analyses, the data and inputs underlying the

valuation analyses performed by Houlihan, the background of the Proposed Transaction and

potential conflicts of interest of the Company’s financial advisors. The defendants were at least

negligent in filing the Proxy Statement with these materially false and misleading statements.

       50.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder would consider them important in deciding how to vote

on the Proposed Transaction.

       51.     By reason of the foregoing, the defendants have violated Section 14(a) of the

Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

       52.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive

relief is appropriate to ensure defendants’ misconduct is corrected.

                                             COUNT II

                 Claims Against the Individual Defendants for Violations of
                            Section 20(a) of the Exchange Act

       53.     Plaintiff repeats all previous allegations as if set forth in full.

       54.     The Individual Defendants acted as controlling persons of Otelco within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as




                                                 - 12 -
         Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 13 of 15




officers and/or directors of Otelco, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy Statement

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

       55.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       56.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were, thus, directly involved in the making of the Proxy Statement.

       57.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that

they reviewed and considered—descriptions the Company directors had input into.

       58.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       59.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-




                                                - 13 -
         Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 14 of 15




9, promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of defendants’ conduct, Otelco’s stockholders will

be irreparably harmed.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in its favor on behalf of Otelco, and against defendants, as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

               concert with them from proceeding with, consummating, or closing the Proposed

               Transaction and any vote on the Proposed Transaction, unless and until defendants

               disclose and disseminate the material information identified above to Otelco

               stockholders;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

               setting it aside or awarding rescissory damages to Plaintiff;

       C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

               as well as SEC Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

               Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.




                                               - 14 -
         Case 1:20-cv-07756-AJN Document 1 Filed 09/21/20 Page 15 of 15




                                     JURY DEMAND

Plaintiff demands a trial by jury.

 Dated: September 21, 2020                            WEISSLAW LLP

                                                 By
                                                      Richard A. Acocelli
                                                      1500 Broadway, 16th Floor
                                                      New York, New York 10036
                                                      Telephone: (212) 682-3025
                                                      Facsimile: (212) 682-3010
                                                      Email: racocelli@weisslawllp.com

                                                      Attorneys for Plaintiff




                                        - 15 -
